
703 S.E.2d 448 (2010)
Larry D. McCANN
v.
TOWN OF SPARTA.
No. 331P10.
Supreme Court of North Carolina.
November 4, 2010.
Larry McCann, pro se.
*449 William L. Hill, Torin Fury, Greensboro, for Town of Sparta.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 6th of August 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 4th of November 2010."
Upon consideration of the petition filed on the 6th of August 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
